      Case 2:14-cv-00335-AJS Document 85 Filed 10/30/14 Page 1 of 2
                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


THE PNC FINANCIAL SERVICES                     )
GROUP, INC., a Pennsylvania Corporation,       )
                                               )
                   Plaintiff,                  )
                                               )        Case No. 2:14-cv-335-AJS
           v.                                  )
                                               )
EILEEN DALY, an Adult Individual and           )
Florida Resident, and MORGAN                   )
STANLEY SMITH BARNEY, LLC, a                   )
Delaware Limited Liability Company,            )
                                               )
                  Defendants.                  )

     JOINT STIPULATION OF DISMISSAL PURSUANT TO RULE 41(a)(l)(A)(ii)

       In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby

voluntarily dismiss with prejudice all claims and counterclaims in this matter.

                                                   Respectfully submitted,

                                                   BUCHANAN INGERSOLL & ROONEY PC
Dated: October 29, 2014

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Case 2:14-cv-00335-AJS Document 85 Filed 10/30/14 Page 2 of 2



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